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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                          Chapter 11

                                                                    Case No. 20-12345 (MG)
    THE ROMAN CATHOLIC DIOCESE OF
    ROCKVILLE CENTRE, NEW YORK,

                                     Debtor. 1



                                      CERTIFICATE OF SERVICE

     STATE OF NEW YORK                        )
                                              )
     COUNTY OF NEW YORK                       )



             I, Janice G. Washington, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100

Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067.

             On September 8, 2023, in addition to service via the Court’s ECF system, I caused a true

and correct copy of the following document to be served via electronic mail upon parties set forth

on the service list annexed hereto as Exhibit A; and

             On September 8, 2023, I caused a true and correct copy of the following documents to be

served via U.S. Mail upon the parties set forth on the service list annexed hereto as Exhibit B.

                   The Official Committee Of Unsecured Creditors’ Reply In Support Of Motion
                    For Entry Of An Order Pursuant To Bankruptcy Rule 2004 Authorizing
                    Examination Of Witnesses And The Production Of Documents



1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


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                Declaration Of Jesse J. Bair In Support Of The Official Committee Of Unsecured
                 Creditors’ Reply In Support Of Motion For Entry Of An Order Pursuant To
                 Bankruptcy Rule 2004 Authorizing Examination Of Witnesses And The
                 Production Of Documents

I declare under penalty of perjury, under the laws of the State of New York and the United States

of America that the foregoing is true and correct.




                                                     /s/ Janice G. Washington
                                                     Janice G. Washington




                                                 2
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                                        EXHIBIT A

Service by E-Mail

       NAME                    NOTICE NAME                      EMAIL
 ALONSO KRANGLE LLP           DAVID B.            DKRANGLE@ALONSOKRANGLE.COM;
                              KRANGLE ESQ         AALONSO@ALONSOKRANGLE.COM

 ALSTON & BIRD LLP            JAMES J.            JAMES.VINCEQUERRA@ALSTON.COM;
                              VINCEQUERRA;        WILLIAM.HAO@ALSTON.COM;
                              WILLIAM HOA;        DYLAN.CASSIDY@ALSTON.COM;
                              DYLAN S.            KIMBERLY.SCHIFFMAN@ALSTON.COM
                              CASSIDY;
                              KIMBERLY J.
                              SCHIFFMAN
 ANDREOZZI + FOOTE            NATHANIEL L.        NATE@VCA.LAW
                              FOOTE
 BARCLAY DAMON LLP            JANICE B. GRUBIN    JGRUBIN@BARCLAYDAMON.COM

 BETTI & ASSOCIATES           MICHELE M. BETTI,   MBETTILAW@GMAIL.COM
                              ESQ

 BONINA & BONINA, P.C.        JOHN BONINA         JBONINA@MEDLAW1.COM
 PARKER HUDSON                TODD C. JACOBS;     TJACOBS@PHRD.COM;
                              JOHN E. BUCHEIT     JBUCHEIT@PHRD.COM
 BURNS BAIR LLP               TIMOTHY BURNS;      TBURNS@BURNSBAIR.COM;
                              JESSE BAIR          JBAIR@BURNSBAIR.COM

 BUTTAFUOCO &                 JAMES S.            JMCCARTHY@BUTTAFUOCOLAW.COM
 ASSOCIATES, PLLC             MCCARTHY;
                              ELLEN BUCCHOLZ

 CARLTON FIELDS PA            LUIS ORENGO, JR.,   LORENGO@CARLTONFIELDS.COM;
                              ESQ. ROBERT W.      RDIUBALDO@CARLTONFIELDS.COM;
                              DIUBALDO, ESQ.;     NVALENZA-FROST@CARLTONFIELDS.COM;
                              NORA VALENZA-       ASILVERMAN@CARLTONFIELDS.COM
                              FROST, ESQ.; ALEX
                              B. SILVERMAN,
                              ESQ.
 CERTAIN & ZILBERG            GARY CERTAIN        GCERTAIN@CERTAINLAW.COM

 CLYDE & CO US LLP            CATALINA            CATALINA.SUGAYAN@CLYDECO.US;
                              SUGAYAN, ESQ.;      JAMES.MOFFITT@CLYDECO.US
                              JAMES MOFFITT,
                              ESQ.

 COUGHLIN DUFFY LLP           KEVIN T.            KCOUGHLIN@COUGHLINDUFFY.COM;
                              COUGHLIN, ESQ.;     ASMITH@COUGHLINDUFFY.COM;
                              ADAM T. SMITH,      KMORIARTY@COUGHLINDUFFY.COM




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                              ESQ.; KAREN H.
                              MORIARTY
 CULLEN AND DYKMAN            MATTHEW G.        MROSEMAN@CULLENLLP.COM;
 LLP                          ROSEMAN, ESQ.;    TSLOME@CULLENLLP.COM;
                              ELIZABETH M.      EABOULAFIA@CULLENLLP.COM;
                              ABOULAFIA, ESQ;   MKWIATKOWSKI@CULLENLLP.COM
                              MICHAEL
                              KWIATKOWSKI,
                              ESQ.; THOMAS R.
                              SLOME

 DESIMONE &                   RALPH DESIMONE    RDESIMONE@DLAW.NET
 ASSOCIATES, LLC

 DUANE MORRIS LLP             BRETT L.          BLMESSINGER@DUANEMORRIS.COM;
                              MESSINGER;        RWROTEN@DUANEMORRIS.COM;
                              RUSSELL W.        JKAHANE@DUANEMORRIS.COM;
                              ROTEN; JEFF D.    AMINA@DUANEMORRIS.COM
                              KAHANE; ANDREW
                              E. MINA
 FARRELL FRITZ PPC            MARTIN BUNIN;     MBUNIN@FARRELLFRITZ.COM;
                              PATRICK COLLINS   PCOLLINS@FARRELLFRITZ.COM

 GAIR, GAIR, CONASON,         RACHEL L.         RJACOBS@GAIRGAIR.COM;
 RUBINOWITZ, BLOOM            JACOBS;           PSAGHIR@GAIRGAIR.COM;
                              PETER SAGHIR;     CCASSIDY@GAIRGAIR.COM;
                              CONOR CASSIDY;    AIBISHAJ@GAIRGAIR.COM
                              ANGELLA IBISHAJ
 JOSEPH HAGE                  ROBERT E.         RGERBER@JHANY.COM
 AARONSON LLC                 GERBER
 HACH ROSE SCHIRIPPA          MICHAEL ROSE &    MROSE@HACHROSELAW.COM;
 & CHEVERIE                   HILLARY NAPPI     HNAPPI@HRSCLAW.COM;
                                                MROSE@HRSCLAW.COM

 HAMBURGER & YAFFE,           DOUGLAS           RICHARD@HAMBURGERYAFFE.LAW;
 LLP                          MCNALLY;          DKMCNALLY@GMAIL.COM;
                              RICHARD           DAVID@HAMBURGERYAFFE.LAW
                              HAMBURGER;
                              DAVID YAFFE
 HERMAN LAW                   JEFF HERMAN;       JHERMAN@HERMANLAW.COM;
                              STUART S.          SMERMELSTEIN@HERMANLAW.COM;
                              MERMELSTEIN        DELLIS@HERMANLAW.COM;MTHEISEN@HERMANLAW
                              ESQ.;              DOCKETING@HERMANLAW.COM;
                              ANDREW             ASILVERSHEIN@HERMANLAW.COM
                              SILVERSHEIN
 HOROWITZ LAW                 ADAM HOROWITZ;    ADAM@ADAMHOROWITZLAW.COM;
                              ROBIN KISSIN      ROBIN@ADAMHOROWITZLAW.COM
 HOWARD & HOWARD              JAMES E. MORGAN   JMORGAN@HOWARDANDHOWARD.COM
 ATTORNEYS PLLC



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 HURLEY MCKENNA &             CLINT PIERCE,      CPIERCE@HURLEY-LAW.COM;
 MERTZ P.C.                   EVAN SMOLA, &      ESMOLA@HURLEY-LAW.COM;
                              MARK MCKENNA       MMCKENNA@HURLEY-LAW.COM

 IFRAH, PLLC                  GEORGE R.          GEORGE@IFRAHLAW.COM
                              CALHOUN, V

 JAMES, VERNON &              LEANDER L. JAMES   LJAMES@JVWLAW.NET
 WEEKS, P.A.                  IV

 JANET, JANET & SUGGS         ANDREW S. JANET    ASJANET@JJSJUSTICE.COM
 LLC

 JEFF ANDERSON &              ATTN: JEFF         JEFF@ANDERSONADVOCATES.COM;
 ASSOCIATES, P.A.             ANDERSON ESQ.,     TRUSHA@ANDERSONADVOCATES.COM;
                              TRUSHA GOFFE       PSTONEKING@ANDERSONADVOCATES.COM
                              ESQ, &
                              PATRICK
                              STONEKING ESQ.


 JONES DAY                    CORINNE BALL,      CBALL@JONESDAY.COM;
                              TODD GEREMIA,      TRGEREMIA@JONESDAY.COM;
                              BENJAMIN           BROSENBLUM@JONESDAY.COM;
                              ROSENBLUM, ERIC    EPSTEPHENS@JONESDAY.COM;
                              P. STEPHENS,       ABUTLER@JONESDAY.COM;
                              ANDREW M.          CDIPOMPEO@JONESDAY.COM
                              BUTLER,
                              CHRISTOPHER
                              DIPOMPEO


 KAZEROUNI LAW                MIKE KAZEROUNI     MIKE@KAZLG.COM;
 GROUP APC                    ASSAL ASSASSI      ASSAL@KAZLG.COM

 KELLY & HULME PC             JAMES N. HULME,    JHULME@KELLYANDHULME.NET
                              ESQ

 KENNEDYS CMK LLP             JILLIAN G.         JILLIAN.DENNEHY@KENNEDYSLAW.COM
                              DENNEHY ESQ.

 KENNEY SHELTON               DIRK C.            DCHAARHOFF@KSLNLAW.COM;
 LIPTAK NOWAK LLP             HAARHOFF;          JTSHELTON@KSLNLAW.COM
                              JUDITH TREGER
                              SHELTON, ESQ.

 KLESTADT WINTERS             SEAN C.            SSOUTHARD@KLESTADT.COM
 JURELLER SOUTHARD            SOUTHARD
 & STEVENS LLP




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 LAURA A. AHEARN,             LAURA A. AHEARN   LAHEARN@LAURAAHEARN.COM
 ESQ. PLLC

 LAW OFFICES OF               MITCHELL          MGARABEDIAN@GARABEDIANLAW.COM;
 MITCHELL                     GARABEDIAN;       WGORDON@GARABEDIANLAW.COM
 GARABEDIAN                   WILLIAM H.
                              GORDON
 LAW OFFICES OF               RONALD J. KIM     RON@RONALDKIMLAW.COM
 RONALD J. KIM, PC

 LEVY KONIGSBERG,             VARA LYONS        VLYONS@LEVYLAW.COM;
 LLP                          JOHN GUINAN       AKULL@LEVYLAW.COM;
                              T. CRUZ           TCRUZ@LEVYLAW.COM;
                              ANNA KULL         JGUINAN@LEVYLAW.COM;
                              MADELEINE         MSKALLER@LEVYLAW.COM
                              SKALLER
 MARSH LAW FIRM               JAMES R. MARSH    JAMESMARSH@MARSH.LAW
 PLLC

 MATTHEWS &                   DEREK GIOVI       DGIOVI@THEMATTHEWSLAWFIRM.COM
 ASSOCIATES
 MELTZER, LIPPE,              SCOTT STEINBERG   SSTEINBERG@MELTZERLIPPE.COM
 GOLDSTEIN &
 BREITSTONE LLP
 MERSON LAW PLLC              JORDAN K.         JMERSON@MERSONLAW.COM
                              MERSON

 MEYER, SUOZZI,               EDWARD J.         ELOBELLO@MSEK.COM;
 ENGLISH & KLEIN, P.C.        LOBELLO;          ATLEVIN@MSEK.COM
                              THOMAS LEVIN,
                              ESQ.

 MICHAEL G. DOWD              MICHAEL G. DOWD   MICHAELGDOWD@GMAIL.COM

 MORITT HOCK &                THERESA A.        TDRISCOLL@MORITTHOCK.COM;
 HAMROFF LLP                  DRISCOLL &        MTROIANO@MORITTHOCK.COM
                              MICHAEL C.
                              TROIANO

 NOAKER LAW FIRM,             PATRICK NOAKER    PATRICK@NOAKERLAW.COM
 LLC

 NORTON ROSE                  STEVEN HOWARD     STEVEN.HOWARD@NORTONROSEFULBRIGHT.
 FULBRIGHT US LLP                               COM
 OFFICE OF THE NY             LETITIA JAMES,    ELENA.GONZALEZ@AG.NY.GOV;
 STATE ATTORNEY               ELENA GONZALEZ,   ELIZABETHM.LYNCH@AG.NY.GOV
 GENERAL                      ELIZABETH M.
                              LYNCH
 OFFICE OF THE UNITED         SHARA CORNELL,    SHARA.CORNELL@USDOJ.GOV;
 STATES TRUSTEE               GREG ZIPES        GREG.ZIPES@USDOJ.GOV



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 PARKER WAICHMAN              BRETT ZEKOWSKI;    BZEKOWSKI@YOURLAWYER.COM;
 LLP                          FRED ROSENTHAL     FROSENTHAL@YOURLAWYER.COM

 PARKER, HUDSON,              MATTHEW M.         MWEISS@PHRD.COM;
 RAINER & DOBBS LLP           WEISS;             MROBERTS@PHRD.COM;
                              MATTHEW G.         HWINSBERG@PHRD.COM
                              ROBERTS;
                              HARRIS B.
                              WINSBERG
 PFAU COCHRAN                 MICHAEL T. PFAU    MICHAEL@PCVALAW.COM;
 VERTETIS AMALA PLLC          JASON P. AMALA     JASON@PCVALAW.COM

 PHILLIPS &                   DIANE PAOLICELLI   DPAOLICELLI@P2LAW.COM
 PAOLICELLI, LLP

 POLLOCK COHEN LLP;           ADAM POLLOCK       ADAM@POLLOCKCOHEN.COM
 ATTN
 PORZIO BROMBERG &            BRETT S. MOORE     RMSCHECHTER@PBNLAW.COM;
 NEWMAN P.C.                  ESQ.& ROBERT M.    BSMOORE@PBNLAW.COM
                              SCHECHTER ESQ

 REED SMITH LLP               AARON JAVIAN;      AJAVIAN@REEDSMITH.COM;
                              JOHN B.            JBERRINGER@REEDSMITH.COM;
                              BERRINGER;         TLAW@REEDSMITH.COM
                              TIMOTHY P. LAW
 RHEINGOLD GIUFFRA            THOMAS P. GIUFFA   TGIUFFRA@RHEINGOLDLAW.COM
 RUFFO & PLOTKIN LLP

 RIVKIN RADLER LLP            MICHAEL KOTULA;    MICHAEL.KOTULA@RIVKIN.COM;
                              JASON GURDUS;      JASON.GURDUS@RIVKIN.COM;
                              PETER P.           SIOBHAIN.MINAROVICH@RIVKIN.COM
                              MCNAMARA;
                              SIOBHAIN P.
                              MINAROVICH

 ROBINS KAPLAN LLP            RAYNA E.           RKESSLER@ROBINSKAPLAN.COM;
                              KESSLER            MHONNOLD@ROBINSKAPLAN.COM
                              MATTHEW
                              HONNOLD
 ROMANO &                     MICHAEL J.         MJR@ROMANOFIRM.COM
 ASSOCIATES                   ROMANO

 RUSKIN MOSCOU                MICHAEL S.         MAMATO@RMFPC.COM
 FALTISCHEK, P.C.             AMATO
 RUSSO, KARL,                 CHRISTOPHER        CG@RKWCLAW.COM
 WIDMAIER &                   GERACE
 CORDANO PLLC




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 SHELLIST LAZARZ              DORIAN             DRODES@EEOC.NET
 SLOBIN LLP                   VANDENBERG-
                              RODES
 SILBERSTEIN, AWAD &          MICHAEL            MLAW@ASK4SAM.NET
 MIKLOS, P.C.                 LAUTERBORN

 SIMMONS HANLY                RICHARD L.         RKROEGER@SIMMONSFIRM.COM
 CONROY LLC                   KROEGER

 SLATER SLATER                JONATHAN           JSCHULMAN@SSSFIRM.COM;
 SCHULMAN LLP                 SCHULMAN,          ASLATER@SSSFIRM.COM ;
                              ADAM SLATER,       LLEDER@SSSFIRM.COM;
                              LINC C. LEDER      SALTER@SSSFIRM.COM
 SULLIVAN PAPAIN              ERIC K. SCHWARZ    ESCHWARZ@TRIALLAW1.COM
 BLOCK MCGRATH &
 CANNAVO P.C.

 SWEENEY, REICH &             GERARD J.          GSWEENEY@SRBLAWFIRM.COM;
 BOLZ, LLP                    SWEENEY;           MREICH@SRBLAWFIRM.COM
                              MICHAEL H. REICH
 THE LAW OFFICE OF            CHAD A. BOWERS     BOWERS@LAWYER.COM;
 CHAD A. BOWERS, LTD.                            CHADALBERTBOWERS@GMAIL.COM
 THE LAW OFFICE OF            JOSHUA W.          JOSH@SKILLMANLAW.NYC
 JOSHUA W. SKILLMAN           SKILLMAN

 THE ZALKIN LAW               ELIZABETH CATE,    ELIZABETH@ZALKIN.COM;
 FIRM, P.C. AND               DEVIN STOREY,      DMS@ZALKIN.COM;
 BARASCH MCGARRY              IRWIN ZALKIN,      IRWIN@ZALKIN.COM;
                              DANA COHEN;        ARIELLE@ZALKIN.COM
                              ARIELLE
                              FELDSHON

 THOMAS COUNSELOR             KATHLEEN R.        KAT@TLCLAWLLC.COM
 AT LAW, LLC                  THOMAS
 TOGUT, SEGAL &               FRANK A.           FRANKOSWALD@TEAMTOGUT.COM;
 SEGAL LLP                    OSWALD, JARED      JBORRIELLO@TEAMTOGUT.COM
                              BORRIELLO

 TOLMAGE, PESKIN,             STEPHAN H.         PESKIN@TOLMAGEPESKINLAW.COM
 HARRIS, & FALICK             PESKIN

 UNITED STATES                PETER ARONOFF      PETER.ARONOFF@USDOJ.GOV
 ATTORNEYS OFFICE,
 FOR THE SOUTHERN
 DISTRICT OF NEW
 YORK

 WEINBERG GROSS &             MARC A.            MPERGAMENT@WGPLAW.COM
 PERGAMENT LLP                PERGAMENT




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 WESTERMAN BALL               JOHN E.            JWESTERMAN@WESTERMANLLP.COM;
 EDERER MILLER                WESTERMAN,         MHENNESSY@WESTERMANLLP.COM;
 ZUCKER & SHARFSTEIN          MICKEE M.          WHEUER@WESTERMANLLP.COM;
 LLP                          HENNESSY,          ALADD@WESTERMANLLP.COM
                              WILLIAM C.
                              HEUER, ALISON M.
                              LADD

 WEITZ & LUXENBERG            JARED SCOTTO       JSCOTTO@WEITZLUX.COM
 P.C.                         LISA BUSCH         NGONSALVES@WEITZLUX.COM
                              JUSTINE DELANEY    LBUSCH@WEITZLUX.COM
                              NICHOLAS           JDELANEY@WEITZLUX.COM
                              GONZALVES




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                                           EXHIBIT B

SERVICE BY US MAIL

        NAME                    NOTICE NAME                    ADDRESS
 DELL & DEAN                  JOSEPH G. DELL     1225 FRANKLIN AVENUE, SUITE 450
                                                 GARDEN CITY, NJ 11530
 GIULIANO LAW, P.C.           ANTHONY F.         445 BROADHOLLOW RD., STE 25
                              GIULIANO           MELVILLE, NY 11747
 INTERNAL REVENUE             CENTRALIZED        PO BOX 7346
 SERVICE                      INSOLVENCY         PHILADELPHIA, PA 19101-7346
                              OPERATION

 OFFICE OF THE UNITED         GREG ZIPES, ESQ.   US FEDERAL BUILDING
 STATES TRUSTEE                                  201 VARICK STREET, SUITE 1006
                                                 NEW YORK, NY 10014
 THE ROMAN CATHOLIC           DEBTOR             50 NORTH PARK AVENUE P.O. BOX 9023
 DIOCESE OF                                      ROCKVILLE CENTRE, NY 11571-9023
 ROCKVILLE CENTRE,
 NEW YORK

 UNITED STATES                TAX &              86 CHAMBERS ST., 3RD FLOOR
 ATTORNEY’S OFFICE            BANKRUPTCY         NEW YORK, NY 10007
 (SDNY)                       UNIT




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